         Case 23-51311-sms          Doc 17   Filed 03/31/23 Entered 03/31/23 14:40:12    Desc Main
                                             Document     Page 1 of 2
                                    UNITED STATES BANKRUPTCY COURT                  F ILE[) N CLERK'4 OFeitt
                                                                                    U.S. HANKRUPTCY COUR1
                                     NORTHERN DISTRICT OF GEORGIA                       NORTHERN DISTRICT
                                            ATLANTA DIVISION                                OF GEORGIA

        IN RE:
                                                                           n                   I PM 12: 38
                                                                Case No.: doc")
                                                                      -z,3_si 3i        H. REGV4HOMAS
        Lc6                  Ldc_                                                                   1 7-'1
                                                                                         DEPUTY CLERK
                                                                Chapter:

                        Debtor(s)

                 r\A cy\-i t:om                 UA'10-C           6"\ S-16
                   t\-\--c                        CNAA CAKe_d   VV\
      \Nac-4\                        CA.(4(2)r 1012,_OnliLSC                f\Q—W   CV0A --InCVC-(\i
c c3p\_                \ o\c Wc b\N‘C\ 0.2016                   V'e_e_a(\tk, rrY\JesA,
       `(\ax-sc2A-e laNci      thn '4- ow 0% c3c\c. t\h-L
             -t-a_x±eck       . L       c NC'sZA-Wfc (IN,           0+P k. cvc\ ce,%1
 k7uLA---                    \rx2__wuc\olc_do occ-Nc . io t6tic-cck cc\
                      Hia3s-                           QA               ‘kk)o-t_ ev-f
                                                              (2_,•CC_Sc1         ruVLC-K.
  \\(, cA-Qc)4,0_\ s c> ' ,z2zd -Yob=. ckx,N-c-Q_VAci-    q                       x cL^nd
                                                   Otc)c:A.),_cb-k \ir\oLNUI       ck-)
               \Dot
                                  vax-r000,x e_c31 -RDc-              kzt(42c- oci&A
-7c3rQ              arc          ow\A ocu\AQ atyLlv4                              4t (

                        cx-reA>           31            .Lo      n,
riN6 cupo‘ac\o__                        t\cil        docAxmcLPAsz)--                    tv\A-AeArkp

        Dated: N    3        02o              Signature:
                                                                           CJ 6   NX7YQ )
                                              Printed Name:



                                             • Address:       10b (-\-     Chuck) Vci              °gib(


                                              Phone:          Mr10-ctq0-35.89
           Case 23-51311-sms         Doc 17         Filed 03/31/23 Entered 03/31/23 14:40:12          Desc Main
                                                    Document     Page 2 of 2

                                UNI1ED STA.' ES BANKRUPTCY COURT

                                  NORTHERN DISTRICT OF GEORGIA

                                              ATLANTA DIVISION


IN RE:     kak \CI LO_Q,                        )       Case No: (    9-3-        3      .
                                               )
                                                )       Chapter
                                               )
                                               )
               Debtor(s)

                                              CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the    day of ("M-Ch , 2O
                                                                  3\                I served a copy of

 r\Ab-k-‘‘ b(           C,E (01 Q_C-PIZLYN
which was filed in this bankruptcy. matter on the(l.         day of   Ma.`1CIO   20 a3




Mode of service (check one):                        MAILED               0. HAND DELIVERED
Name and Address of each party served (If necessary, you may attach a list.):.

                            LQ-
                        Cc tak
5C-0'VA-dal                           OtifiCt

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

• Dated:    1 P)1                                       Signature:

                                                        Printed   NamerPyt'i                 rn   ,
                                                        Address:       (:)6/4-   tu  d ¼kc\ kk-
                                                                      v4-VAN6\cx. eictebcb
                                                                         90-qc10-8639
                                                         Phone:

 (Generic Certificate of Service — Revised   4/13)•
